      Case 2:10-cr-00063-SMJ       ECF No. 59   filed 02/23/11   PageID.156 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT
 2                            EASTERN DISTRICT OF WASHINGTON
 3

 4

 5
     UNITED STATES OF AMERICA,
                                                           No. CR-10-0063-FVS-2
 6
                          Plaintiff,

 7
                                                           ORDER DISMISSING INDICTMENT
                  v.
 8

 9
     JESSICA A. McKINNEY,

10
                          Defendant.

11

12           IT IS HEREBY ORDERED:

13           The government’s oral motion to dismiss is GRANTED.                The

14   indictment in this case is DISMISSED with prejudice.

15           IT IS SO ORDERED.       The District Court Executive is hereby

16   directed to enter this order, furnish copies to counsel and close the

17   file.

18           DATED this     23rd       day of February, 2011.

19
                                  s/ Fred Van Sickle
20                                    Fred Van Sickle
                            Senior United States District Judge
21

22

23

24

25

26



     ORDER DISMISSING INDICTMENT - 1
